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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 DHI HOLDINGS, LP                      §
                                       §
     Plaintiff,                        §
                                       §
 v.                                    §      Civil Action No. 4:25-cv-00518
                                       §
 U.S. BANK TRUST NATIONAL              §
 ASSOCIATION, NOT IN ITS               §
 INDIVIDUAL CAPACITY BUT               §
 SOLELY AS TRUSTEE OF FIDELITY         §
 & GUARANTY LIFE MORTGAGE              §
 TRUST 2018-1; AND FAY SERVICING,      §
 LLC                                   §
                                       §
                                       §
     Defendants.
                                       §
__________________________________________________________________________

                JOINT DISCOVERY/CASE MANAGEMENT PLAN
         UNDER RULE 26(f) OF FEDERAL RULES OF CIVIL PROCEDURE
______________________________________________________________________________

       Pursuant to the Court’s Order for Conference and Disclosure of Interested Parties (Doc.

No. 10), Plaintiff DHI Holdings, LP (collectively, “DHI”) and Defendants U.S. Bank Trust

National Association, Not in its Individual Capacity But Solely as Trustee of Fidelity & Guaranty

Life Mortgage Trust 2018-1 (“U.S. Bank”) and Fay Servicing, LLC (“Fay Servicing”)

(collectively, “Defendants”) file this Joint Discovery/Case Management Plan.

1.     State where and when the meeting of the parties required by Rule 26(f) was held, and
       identify the counsel who attended for each party.

       The parties conducted a Rule 26(f) conference on April 18, 2025 via email. Breayne J.
Bennett attended for Plaintiffs. Helen O. Turner attended for Defendants.

2.     List the cases related to this one that are pending in any state or federal court with
       the case number and court.

       None.



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3.     Specify the allegation of federal jurisdiction.

       Defendants removed the lawsuit to federal court pursuant to diversity jurisdiction under 28
U.S.C. § 1332(a).

4.     Name the parties who disagree and the reasons.

       None.

5.     List anticipated additional parties that should be included, when they can be added,
       and by whom they are wanted.

       The parties do not anticipate any additional parties being named.

6.     List anticipated interventions.

       There are no anticipated interventions at this time.

7.     Describe class-action issues.

       There are no class-action issues at this time.

8.     State whether each party represents that it has made the initial disclosures required
       by Rule 26(a). If not, describe the arrangements that have been made to complete the
       disclosures.

       Plaintiffs will serve their Rule 26(a) initial disclosures to Defendants on or before May 16,
2025. Defendants will serve their Rule 26(a) initial disclosures on or before May 16, 2025.

9.     Describe the proposed agreed discovery plan, including:

       A.      Responses to all the matters raised in Rule 26(f).

       26(f)(3)(A): What changes should be made in the timing, form, or requirement for
       disclosures under Rule 26(a), including a statement of when initial disclosures were
       made or will be made.

       The parties would like to change the deadline to serve initial disclosures to May 16, 2025.
The parties do not request any changes to the form or requirement for disclosure under Rule 26(a).

       26(f)(3)(B): The subjects on which discovery may be needed, when discovery should
       be completed, and whether discovery should be conducted in phases or be limited to
       or focused on particular issues.

        Discovery, if necessary, will be needed as to matters relevant to all issues presented in this
suit. There is no need to conduct discovery in phases.




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         26(f)(3)(C): Any issues about disclosure, discovery, or preservation of electronically
         stored information, including the form or forms in which it should be produced.

        Any disclosure or discovery of electronic files should be produced in printed form or PDF.
All parties wish to serve discovery requests and responses exclusively by email.

         26(f)(3)(D): Any issues about claims of privilege or of protection as trial-preparation
         materials, including—if the parties agree on a procedure to assert these claims after
         production—whether to ask the court to include their agreement in an order under
         Federal Rule of Evidence 502.

       There is no need to resolve issues of privilege at this time. If any claims of privilege arise,
they should be asserted during the course of production.

         26(f)(3)(E): What changes should be made in the limitations on discovery imposed
         under these rules or by local rule, and what other limitations should be imposed.

         There should be no changes to the limitations on discovery under either the federal or local
rules.

         26(f)(3)(F): Any other orders that the court should issue under Rule 26(c) or
         under Rule 16(b) and (c).

         It is not anticipated that any orders under Rule 26(c) or 16(b) or (c) should be issued at this
time.

         B.     When and to whom the plaintiff anticipates it may send interrogatories.

        Plaintiff anticipates it may send interrogatories to Defendants or any other interested party
before the end of the discovery period, proposed to be December 12, 2025. Plaintiff reserves the
right to amend before the close of discovery.

         C.     When and to whom the defendant anticipates it may send interrogatories.

        Defendants anticipate they may send interrogatories to Plaintiff or any other interest party
before the end of the discovery period, proposed to be December 12, 2025. Defendants reserve the
right to amend before the close of discovery.

         D.     Of whom and by when the plaintiff anticipates taking oral depositions.

        Plaintiff anticipates taking depositions of corporate representatives of Defendants and any
fact witnesses before the end of the discovery period, proposed to be December 12, 2025.

         E.     Of whom and by when the defendant anticipates taking oral depositions.

       Defendants anticipate taking the depositions of Plaintiff and any fact witnesses before the
discovery cut-off date, proposed to be December 12, 2025.




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        F.      When the plaintiff (or the party with the burden of proof on an issue) will be
                able to designate experts and provide the reports required by Rule 26(a)(2)(B),
                and when the opposing party will be able to designate responsive experts and
                provide their reports.

       The parties do not, at this time, anticipate designating any experts besides experts on
attorneys’ fees. The parties agree to submit all attorneys’ fee issues to the Court after liability and
damages are resolved.

        G.      List expert depositions the plaintiff (or the party with the burden of proof on
                an issue) anticipates taking and their anticipated completion date. See Rule
                26(a)(2)(B) (expert report).

       Plaintiff will depose any of Defendants’ experts on any issues, if any, before the end of the
discovery period, proposed to be December 12, 2025.

        H.      List expert depositions the opposing party anticipates taking and their
                anticipated completion date. See Rule 26(a)(2)(B) (export report).

        Defendants will depose any of Plaintiff’s experts on any issues, if any, before the end of
the discovery period, proposed to be December 12, 2025.

10.     If the parties are not agreed on a part of the discovery plan, describe the separate
        views and proposals of each party.

        None.

11.     Specify the discovery beyond initial disclosures that has been undertaken to date.

        None.

12.     State the date the planned discovery can reasonably be completed.

        The parties believe discovery can reasonably be completed by December 12, 2025.

13.     Describe the possibilities for a prompt settlement or resolution of the case that were
        discussed in your Rule 26(f) meeting.

       The parties have engaged in and continue to engage in settlement negotiations to reach a
mutually satisfactory resolution of this matter.

14.     Describe what each party has done or agreed to do to bring about a prompt
        resolution.

       The parties have agreed to continue engaging in settlement negotiations and will make
every effort to reach a mutually satisfactory resolution of this matter.




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15.     From the attorneys’ discussion with the client, state the alternative dispute resolution
        techniques that are reasonably suitable.

        If the Court believes that it is in the best interest of the parties, Plaintiff and Defendants
will consent to mediation in an effort to settle this matter after the parties have had a reasonable
time to conduct discovery and after all informal settlement discussions have concluded.

16.     Magistrate judges may now hear jury and non−jury trials. Indicate the parties' joint
        position on a trial before a magistrate judge.

        The parties do not consent to trial before a magistrate judge.

17.     State whether a jury demand has been made and if it was made on time.

        Yes, a timely jury demand was made on November 26, 2024.

18.     Specify the number of hours it will take to present the evidence in this case.

      Plaintiffs anticipate that it will take them approximately 4 to 6 hours to present evidence.
Defendants anticipate that it will take them approximately 4 to 6 hours to present evidence.

19.     List pending motions that could be ruled on at the initial pretrial and scheduling
        conference.

        None.

20.     List other motions pending.

        Defendant, U.S. Bank as Trustee, filed a Motion to Dismiss (Doc. #4) on February 7, 2025.
Plaintiff filed its Response to in Opposition to Defendants’ Motion (Doc. 12) on February 28,
2025.

21.     Indicate other matters peculiar to this case, including discovery, that deserve the
        special attention of the court at the conference.

         Brandon Mendenhall guaranteed the commercial promissory notes for Plaintiff in this case
and another entity named RAD Diversified REIT, Inc. in other pending cases. The cases currently
pending in the Southern District of Texas – Houston Division include: (1) Civil Action No. 4:24-
cv-03914, (2) Civil Action No. 4:25-cv-00254, and (3) Civil Action No. 4:25-01191. The case
currently pending in a Harris County District Court is (4) Cause No. 2024-83279. The Parties
continue to engage in good faith discussions regarding the potential for settlement. This case is
one of the several pending matters between Plaintiff (or affiliates of Plaintiff) and Defendant Fay
Servicing, LLC involving foreclosure-related disputes concerning residential investment
properties. The Parties are optimistic about the possibility of a global settlement that would resolve
this case along with the other actions. While a global resolution has not yet materialized due to the
differing investors involved, progress has been made: some of the other related cases have been
resolved. The parties remain hopeful that a global settlement can still be achieved, or alternatively,
that this individual case may be resolved through further negotiations. In the meantime, the parties


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continue to confer regarding discovery and are committed to working cooperatively toward a
resolution.

23.     List the names, bar numbers, addresses, and telephone numbers of all counsel.

  Attorney for Defendants                      Attorneys for Plaintiff

  Robert T. Mowrey – Attorney-in-Charge        Jeffrey C. Jackson - Attorney-in-Charge
  Texas Bar No. 14607500                       Texas Bar No. 24065485
  S.D. Texas Bar No. 9529                      S. D. Texas No. 1024221
  rob.mowrey@troutman.com                      jeff@jjacksonpllc.com
  Matthew K. Hansen                            Breayne J. Bennett
  Texas Bar No. 24065368                       Texas Bar No. 24111049
  S.D. Texas Bar No. 1046257                   S.D. Texas No. 3873331
  matt.hansen@troutman.com                     breayne@jjacksonpllc.com
  TROUTMAN PEPPER LOCKE LLP                    JEFFREY JACKSON & ASSOCIATES, PLLC
  2200 Ross Avenue, Suite 2800                 11767 Katy Freeway, Suite 813
  Dallas, Texas 75201-2750                     Houston, Texas 77079
  Telephone: (214) 740-8000                    Telephone: (713) 861-8833
  Facsimile: (214) 740-8800                    Facsimile: (713) 682-8866

  Helen O. Turner
  Texas Bar No. 24094229
  S.D. Texas Bar No. 2924121
  helen.turner@troutman.com
  TROUTMAN PEPPER LOCKE LLP 600 Travis
  Street, Suite 2800
  Houston, Texas 77002
  Telephone: (713) 226-1280
  Facsimile: (713) 229-2501



Respectfully submitted,

04/21/2025                         /s/ Jeffrey C. Jackson
Date                               Jeffrey C. Jackson
                                   SBOT #24065485
                                   S.D. Texas Bar No. 1024221
                                   jeff@jacksonpllc.com
                                   JEFFREY C. JACKSON & ASSOCIATES, PLLC
                                   11767 Katy Fwy., Ste. 813,
                                   Houston, Texas 77079
                                   Tel. 713-861-8833
                                   Fax. 713-682-8866

                                   COUNSEL FOR PLAINTIFF


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04/21/2025                         /s/ Helen O. Turner
Date                               Robert T. Mowrey
                                   Texas Bar No. 14607500
                                   S.D. Texas Bar No. 9529
                                   rmowrey@troutman.com
                                   Matthew K. Hansen
                                   Texas Bar No. 24065368
                                   S.D. Texas Bar No. 1046257
                                   mkhansen@troutman.com
                                   TROUTMAN PEPPER LOCKE LLP
                                   2200 Ross Avenue, Suite 2800
                                   Dallas, Texas 75201-2750
                                   Telephone: (214) 740-8000
                                   Facsimile: (214) 740-8800

                                   Helen O. Turner
                                   Texas Bar No. 24094229
                                   S.D. Texas Bar No. 2924121
                                   helen.turner@troutman.com
                                   TROUTMAN PEPPER LOCKE LLP
                                   600 Travis Street, Suite 2800
                                   Houston, Texas 77002
                                   Telephone: (713) 226-1280
                                   Facsimile: (713) 229-2501

                                   COUNSEL FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served as indicated on
this 18th day of April, 2025, to the following:

       Robert T. Mowrey – Attorney-in-Charge
       Texas Bar No. 14607500
       S.D. Texas Bar No. 9529
       rob.mowrey@troutman.com
       Matthew K. Hansen
       Texas Bar No. 24065368
       S.D. Texas Bar No. 1046257
       matt.hansen@troutman.com
       TROUTMAN PEPPER LOCKE LLP
       2200 Ross Avenue, Suite 2800
       Dallas, Texas 75201-2750
       Telephone: (214) 740-8000
       Facsimile: (214) 740-8800

       Helen O. Turner
       Texas Bar No. 24094229
       S.D. Texas Bar No. 2924121
       helen.turner@troutman.com
       TROUTMAN PEPPER LOCKE LLP
       600 Travis Street, Suite 2800
       Houston, Texas 77002
       Telephone: (713) 226-1280
       Facsimile: (713) 229-2501

       COUNSEL FOR DEFENDANTS


                                            /s/ Jeffrey C. Jackson
                                            Jeffrey C. Jackson




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